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                                                                                     August 2, 2023


         VIA ECF
         Honorable Orelia E. Merchant
         United States District Court
         Eastern District of New York
         225 Cadman Plaza East
         Brooklyn, New York 11201

                  Re: Myers v. County of Nassau et al, 22-cv-07023-OEM-LGD


         Dear Judge Merchant:

                We write as counsel for the County of Nassau (“County”), the Nassau County Civil Service
         Commission (“CSC”), and the Nassau County Police Department (“NCPD”) (collectively
         “Defendants”) in the above matter and respectfully request the Court schedule a pre-motion
         conference.

         Relevant Background

                  On April 15, 2023, Defendants filed a letter request seeking a pre-motion conference (see
         Docket No. 15) regarding their intended motion to dismiss Plaintiff’s Complaint pursuant to Rule
         12(b)(6) of the Federal Rules of Civil Procedure. On July 11, 2023, the above matter was
         reassigned to Your Honor. At the time of reassignment, no pre-motion conference had been
         scheduled. On July 12, 2023, Magistrate Judge Dunst scheduled for August 31, 2023, a telephonic
         initial conference and directed the parties to file a joint Proposed Discovery Plan/Scheduling Order
         one week prior to the initial conference. Because scheduling in this matter should include a
         dismissal motion briefing schedule, Defendants respectfully submit this letter seeking that Your
         Honor schedule a pre-motion conference regarding our motion to dismiss.

                Further, while the Defendants are available to attend a pre-motion conference at the Court’s
         convenience, if the Court prefers not to hold a conference for the sake of judicial economy,
         Defendants are amenable to the Court issuing a dismissal motion briefing schedule without a
         conference.




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      Thank you for your consideration of this request.

                                                Respectfully submitted,

                                                GREENBERG TRAURIG, LLP

                                                By:

                                                          Mark J. Lesko
                                                            Mark J. Lesko
